Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 1 of 14 Pageid#: 1
                                                                          CLERK'S oqwlce tJ.s. nls'c couR'r
                                                                              ATcFtAhkorrssvlku,vA
                                                                                         FILED
                    IN TTTE UNITED STATESDISTRICT COURT                          FEB gj 2g1?
                   FO R TH E W ESTERN DISTRICT OF W RGINIA            .        Ju       . ouEx cuEu
                               C harlottesville D ivision                     BY'
                                                                                    D    TY      ERK


                                                        )
IN N O TE C LLC                                         )
                                                        )
      Plaintiff,                                        )
                                                        )
V.                                                      )
                                                        )
W SIO NTE CH SA LES,IN C .,                             )
                                                        )
      Serve:ïdchard Perrault
            R egistered A gent
            92A IndustrialW ay
            Troy,V A 22974

VISIONTECH SM UES GR OUP HONG K ONG LTD;                       CaseNoJ .l%d/
                                                                          .



      Serve:R ichard Perrault,C orporate O fficer
            92A IndustrialW ay
            T roy,VA 22974

and                                                     )
                                                        )
W CH AR D L LO YD PER R AU LT                           )
                                                        )
      Serve: 1108 C harterhouse Court                   )
            K esw ick,VA 22947                          )
                                                        )
                                                        )

                                    CO M PLAIN T

      Plaintiff TnnotecLLC Cilnnotec'),bringsthisactionagainstDefendants,Visiontech
Sales,Inc.(:1VSG''),Visiontech SalesGroup HongKongLtd.CGVSG HK''),andRichardL.
Perrault(<Ten'
             ault'')formonetary andotherdnmagesandlegalreliefonthegroundssetforth
herein.
Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 2 of 14 Pageid#: 2




                               N AT UR E O F TH E A C TIO N

              Thisisan action forbreach ofcontractforthesale ofgoods,and in the

alternative,fortmjustemichment.Thisisalsoanactionforbreachofcontract'
                                                                    ualnon-disclosme
and exclusivityrequirem ents.Thisaction seeksmonetary dnm agesand otherrelief.



                                         PA RTIES

              IrmotecisaColorado Lim ited Liability Company,and maintainsitsprincipal

placeofbusinessin Lafayette,Colorado.lrmotecisamanufacttlrerand supplierofelectdcaland

mechanicalcomponents.

       3.     DefendantV SG isaVirginiacorporation and m aintainsitsprincipalplaceof

businessin Troy,V irginia. V SG isa plzrchaserofelectricaland m echnnicalcom ponents. A tall

timesrelevanttothematterssetforthherein,VSG wasapurchaserofthesubjectgoodsfrom
Innotec.

              DefendantV SG HK is,upon information andbelief,aforeign corpùration thatis

located and maintainsitsprincipalpl4ce ofbusinessin Troy,Virginia.Upon infonnation mld

belief,V SG HK isasubsidiary oraffiliateofVSG.

       5.     D efendantsV SG and V SG HK are also,upon irlfonnation and belief,alter-egos of

each other. Forexnmple,V SG HK isbelievedto beengaged in thesnmebusinessasV SG,

purchasingthesam etypeofproducts,and selling the sam etypeofproducts,including.toV SG

custom ers. V SG HK operatesfrom the sam e office in Troy,V irginia asV SG . Upon infonnation

mld belief,M r.Richard L.Perrault,a residentoftheComm onwealth ofVirginia,isthe fotmding

memberand chiefexecutiveofficerofboth V SG andV SG HK,and directsboth companiesfrom

thesnmeoftkeinTroy,Virginia.Further,upon informationandbelie: VSG andVSG HK
Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 3 of 14 Pageid#: 3




employ thesamem anagem entand key employees,tradenam esand kadem arks,aswellasthe

snmem ailing address,physicaladdresses,em ailaddresses,and otheradministrativeassets.

                  DefendantRichardL.PerraultCTenaulf'lisaresidentoftheCommonwealth of
Virginia.Upon infonnation andbelief,Perratlltisthefotmder,chiefexecutive,mzd ownerofboth

V SG and V SG HK .



                                 JU RISDIC TIO N A ND VE NU E

                  Them attersasserted in Paragraphs1through 6 areincop orated herein asifset

forth in f'u11.

        8.        Thereiscom pletediversity ofcitizenship am ongthepartiesto thisaction,andthe

nmotmtorvaluein controversy exceeds$75,000.00,exclusiveofinterestand costs.Therefore,

thisCourthassubjectmatterjurisdictionpursuantto28U.S.C.j1332.
                  ThisCourthaspersonaljurisdictionovertheDefendantsptlrsuanttoVa.Code.j
8.01-328.1,becauseeach Defendantiseitherdom iciled intheComm onwea1th ofVirginia,

incorporated intheCom m onwea1th ofVirginia,located in theComm onwea1th ofVirginia,orhas

transacted businessin the Comm onwealth ofVirginia,and transacted such businessin the

Commonwea1th ofVirginiaincormectionwiththemattersthatarethesubjectofthislitigation.
                  Venueisproperinthisdistrictandintllisdivisionptlrsuantto28U.S.C.j1391
(b),andRule2(b)oftheRulesoftheU.S.DistrictCourtfortheW esternDistrictofVirginia,as
theDefendantsarelocatedinthisjudicialdivision,andbecauseasubstantialpartoftheeventsor
om issions giving rise to the claim s occun'ed in thisdivision.




                                                 3
Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 4 of 14 Pageid#: 4




                                             FA C TS

The M utualN on-D isclosure A ereem ent.

                 Them attersasserted in Paragraphs 1- 10 aboveareincorporatedherein asifset

forth in 1 11.

        12.      In anticipation ofa continued businessrelationslzip,Innotecand V SG entered into

aMumalNon-DisclostlreAgreementdatedFebruary 14,2013(theGGM ND Agreemenf).
Included am ongthem aterialterm sand conditionsoftheM ND Agreementarethe following:

       a)        The       Agreem entisbinding on VSG,aswellasitsaffiliatesand subsidimies;

       b)        TheM NlDAgreementistoprotectandfacilitatetheexchangeofconfidentialmld
otherbusinessandproductinform ation thatInnotecdesiresto treatasconfidential,forthe

purpose ofadvancing discussionsforthesaleofgoodsand servicesby Irmotecto VSG;

       c)        ConfidentialInformation isaffordedthebroadestapplicationpossible;
       d)        Thereceivingparty,i.e.,VSG,istokeepinthestrictestconfdenceandtnlstal1
ConfidentialInform ation,and shalltake al1reasonable safeguardsto preventdisclosure;

       e)        TheM ND iseffectiveforaminimllm irlitialterm ofoneyear;thereafter,any
partymayterminatetheagreementforanyreasonorfornoreason,uponthirty(30)dayswritten
advancenoticeto theotherparty;

       f)        Thereceiving party may notdetermine ordiscoverany ConfidentialInform ation
by anym eanssuch asdisassembly,reverseengineering,orany otherm eansexceptasm ay be

authorized in advance by the D isclosing Party;

       g).       TheCompany(VSG,itsaffiliatesandsubsidimies)shallnotcircllmventIrmotec
bypurchasingproductorequipmentdirectly from Innotec'soriginalm anufacturerorsupplier

withoutfirstreceiving m itten consentofInnotec.
Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 5 of 14 Pageid#: 5




       13.    No party hastaken action toterminatetheM ND. A tnze copy oftheM ND

Agreementisattached hereto asExhibitA.



The Exclusivitv A zreem ent and related purchases.

       14.    Innotec and VSG also entered into an GdExclusivityAgreement''dated M Arch28,

2013(theçtExclusivityAgreemenf).IntheExclusivityAgreement,VSG,asçGBuyer,''and
lnnotec,asç&Se11er,''agreedto enterinto an exclusiveagreementforthepurchase ofallVivoplay

ChargerAdapters.Theagreem entprovidesthatduringtheexclusivity period,defined asM arch

28,2013through M arch 28,2020,VSG wasrequired to plzrchase exclusively from Innotec,and

Irmotecwasrequired to sell,al1Vivoplay ChargerAdaptersto berequiredby V SG.Theterm sof

such ptlrchasesaretobein accordancewith the Seller'squotation dated M arch 28,2013.

Paym entisrequired by wireorby check to theorderoflnnotec asfurthersetforth therein.

Should theBuyerfailtopay forthegoodswhen due,the Sellerhastheoption tot'
                                                                       reatsuch

failtlre asamaterialbreach oftheExclusivity Agreement,and seek legalrem edies.

              TheExclusivity Agreem entalsoprovidesthatin the eventofadisputerelated to

theagreement,thetmsuccessf'ulparty shallpayto the successfulparty,in addition to a11smns

thateitherparty may becalled on topay,areasonablesllm forthe successfulparty'sattorney

fees.A tnze and correctcopy ofthisExclusivity Agreementisattached hereto asExhibitB.

              In relianceon theExclusivity Agreement,V SG m adetwo ordersofVivoplay

ChargerA dapters from Ilm otec. Innotec filled such orders,and delivered such goodsto V SG ,

and they were accepted by V SG w ithoutprotestand are confonning in a11m aterialrespects.

Ilmotechasinturn delivered two invoicesforpaym ent,invoicesNo.3934 andNo.3956,to

VSG.Tnzeand correctcopiesofthesetwo Invoicesareattached hereto asExhibitC.

                                              5
Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 6 of 14 Pageid#: 6




       l7.    Notwithstanding the above factsand obligations,V SG hasfailed to m ake

paymentoftheinvoices,and istherefore in breach ofcontract,includingtheterm softhe

ExclusivityAgreem ent.



V SG purchases pursuantto separate purchase orders.

       18.    Duringtheperiod ofSeptember 12,2014 through Jtm e 10,2016,VSG ordered

electdcaland m echanicalcom ponentsfrom Ilm otec by subm itting purchase ordersto Irm otec.

lnnotecfilledthese orders,and VSG received and accepted each ofthese shipmentswithout

objection.InnotechassentproperinvoicesforsuchplzrchasestoVSG forpayment,and such
invoicesarepastdue and tmpaid.

       19.    Thesepurchasesw erem adeby lnnotec firstsubm ittinga quotation toVSG at

VSG'Srequest,specifyingtheproductandproviding thetennsthatwould controltheorder,

includingprice,paymentterm s,shipping andnon-cancellation oforders.In each case,VSG

respondedby subm itting aptlrchase ordercorresponding to theterm sofInnotec'squotation.

Irmotecthen filled theorderand sentan invoicewith theshipm entoftheproduct.By way of

exnmple,aquotation,ptlrchase order,and invoice isattached collectively heretoasExhibitD.

       20.    In the case ofeach oftheseorders,VSG accepted thegoodsshipped and

delivered,withoutprotestorobjection,andused suchgoodsinitsordinary courseofbusiness,
includingtheresaleofsuch productsto itscustomers. However,VSG hasfailed to make

paym entforthe ordersin accordance with the invoices.

       21.    Innotecaddressed approxim ately $618,000 in unpaid and overdueinvoiceson
M ay 3,2016 with M r.PerraultoftheVSG companies.M r.Perraultacknowledged in response

thatitowedpast-duebalmwesforgoodsordered andaccepted by VSG,and agreed to com eup
Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 7 of 14 Pageid#: 7




with apaymentschedule.VSG provided a second emailto Irmotecthatsameday,agreeingto

pay $100,000 by M ay 6,and another$100,000 paym entby M ay 13.Copiesoftheire-mailsaze
attached collectively asExhibitE.

       22.     M r.Perraultm adethesetwo payments.However,nopaym entshavebeen made

by VSG to Ilmotec since.

       23.     On M ay 17,2016,Irmotecsentanotherem ailto VSG 'SVP ofOperations,

requesting additionalpaymentofatleast$100,000,by M ay 20.Atthattime,VSG had overdue
invoicestotaling $528,000.TM semailwasnotresponded to.On Jtme6,2016,Innotecsent

anotherem ailto VSG to addressitsnon-paym ent.Atthispoint,theoverduebalancehadrisen to

$853,000. VSG did notreply to thisem ail.
       24.     On June 8,2016,Innotec once again em ailed V SG,requesting a response to its

previousem ails.Finally,M r.Penaultresponded,requestingan in-person m eeting todiscuss

payment.Them eetingwasheld on Jtme 14 atM r.Perrault'sofficein Troy,Virginia.Atthis

meeting,thepartiesreachedanagreepentregardingthepaymentofthepast-duebalance(the
tdpaymentPlmf').Mr.PerraultagreedthatVSG wouldpay a11invoicesoverdueasofJtme14,
2016,to Irmotecon Jtme 15,2016.Thetotalamotmtofoverdue invoicesto bepaid by VSG had

reached $1,117,215.69.A copy oftMsPaym entAgreem entisattached asExMbitF.Inthecase

ofevery pastdueinvoice,Innotechad shipped confonningproductin accordancewith a

ptlrchaseordersentby VSG,which wasaccepted by VSG withoutprotestorcomplaint,and used

by V SG to fi11its ow n orders and sales to its ow n custom ers.

       25.     On June 15,Innotec sentan em ailto M r.Perrault,rem inding llim to m ake

paym entthatday asagreed. H ow ever,in breach ofthe Paym entA greem ent,and in continued
Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 8 of 14 Pageid#: 8




breach ofa1linvoices,VSG neverm adetherequiredpaymentto Innotecforthenm ountofthe

overduebalance,norprovideany responseto Innotec'sJune 15 email.

       26.       On June 16,2016,M r.Ting em ailedM r.Perrault,andinfonnedllim thatasa

resultofVSG 'Sm ultiple failuzestorenderpaymentdue,Tnnotecwasterm inatingtheJune 14

Paym entPlan,and thatVSG m ustpay Imlotecimm ediately fora11overduebalances.

       27.       AsofJanuary 27,2017,V SG oweslnnotec $2,699,435.39 forcomponents
ordered,shipped,andreceived by VSG,aswellasitem sproperly withheld afterdem anding

pàyment.A trueand correctcopy ofthetotalbalance owed isattached asExhibitG.Thisfiglzre

includes$1,646,440.70 in open,outstanding invoicesforgoodsorderedby VSG,shipped,and

accepted by VSG withoutprotestorcom plaint.Thisfigtlre also includes$771,674.25duefor
nomcancellablecustom goodsordered by VSG,which weresubstantially filled by Irmotec,and

are being held pending appropriate assurance from V SG thatitw illctlre itsbreachesand perform

itsobligationsofpaym ent.

       28.       The nm ounts due Ilm otec also include a 2% m onthly charge forany overdue

balances.AsofJarmary 27,2017,such nmotmtstotaled $281,320.44.
       29.       Irmotecreservestherightto add ornmend such factsupon thecompletion of

discovery onthiscase.



                       C O U NT 1-BR EA CH O F C ON TM CT BY V SG -
                  For the sale of zoodspursuantto the Exclusivitv A zreem ent

       30.       Thefactsasserted in Paragraphs1through 29 are incorporated herein asifset

forth in 1 11.

       31.       The above actions by V SG constitute a m aterialbreach ofcontract,alzd Ilm otec

has sustained directm onetmy dam ages asthe directand proxim ate resultthereof.
Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 9 of 14 Pageid#: 9




        WHEREFORE,Innotecseeksjudgmentinan amountnotlessthan$99,098.52,
consisting of$39,936.00 dueon InvoiceN o.3934,$41,932.80 due on InvoiceN o.3956,2% fees
foroverduelmpaid balancesasofJanuary27,2017,such am ountbeing $17,229.72;pre-

judgmentinterestfrom thedateofeachinvoiceuntilpaid,post-judgmentinterestasprovidedat
law,itsattorneys'feesincurred herein,and such otherreliefasm ay beprovided at1aw orequity.



                      C O U N T 11- BR EA CH O F C O NTM CT BY V SG -
                 U npaid invoicesfor the sale ofEoods and open purchase orders

        32.      Thefactsasserted in Paragraphs1through 31areincop orated herein asifset

forth in fu11.

                 The above actionsby V SG constitute am aterialbreach ofcontract,and Irm otec

hassustained directm onetary dnm agesasthe directand proxim ateresultthereof.

        W HEREFORE,Innotecseeksjudgmentin an amountnotlessthan$2,600,336.87,
consisting of$1,564,571.90pastdueon Izmotecinvoicesforgoodsordered,shipped,delivered
andacceptedbyVSG withoutprotestorobjection;$771,674.25fornon-cancellablecustom
goods ordered by V SG ,assem bled and prepared forshipm ent,in part,and held by Ilm otec given

VSG'Santicipatory breach;2% monthly feesforoverduebalancesasofJanuary 27,2017,such

nmountbeing$264,090.72;pre-judgmentinterestfrom thedateofeachinvoicetmtilpaid,post-
judgmentinterestasprovidedatlaw,andsuchotherreliefasmaybeprovidedat1aw orequity.


                         COUNT 111-UniustEnrichm entazainstVSG

                 Thefactsasserted in Paragraphs1through 33 are incorporatedherein asifset

forth in 1 11.


                                                9
Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 10 of 14 Pageid#: 10




         35.      Innotecpleads,inthe altem ative,thatthefactssetforth above giveriseto an

 implied contract,whereVSG,oritsaffiliatesorsubsidimies,are required to pay Innotecthe

 reasonablevalueofthegoodsandservicesInnotecprovided,tmderthedoctrineoftmjust
 emichm ent.Undertheabovefacts,Innotecconferred abenefiton VSG,VSG knew ofthe

 benetk and should reasonably haveexpectedtopay Irmotecforsuch goodsand services,and

 V SG accepted and retained such goods and selwicesw ithoutpaying fortheir value.As a result,

 Izmotecshould recoveran awardofdamagesamotmtingtothereasonablevalueofthe goodsand

 servicesprovided,from theparty receiving such goodsand services,lessany compensation

 acmally received.

         36. Asaresultoftheforegoing,VSG,itsaffiliatets)andsubsidiarieshavebeen
 unjustlyemichedandhavewrongfullyprofitedattheexpenseanddetrimentofInnotec,andwill
 continuetobewrongfully emiched,unlessand tmtilInnotecreceivesthecom pensation and

 dnmagessetforth herein.

         W HEREFORE,Innotecseeksjudgmentinan amotmtnotlessthml$2,699,435.39,
 consisting of$1,564,571.90 pastdueon Irmotec invoicesforgoodsordered,shipped,delivered

 andacceptedbyVSG withoutprotestorobjection;$771,674.25fornon-kancellablecustom
 goodsordered by VSG,assem bled and prepared forsllipm ent,in part,and held by Innotec given

 VSG'Santicipatory breach;2% m onthlyfeesforoverduebalancesmsofJanuary 27,2017,such

 nmountbeing$281,320.44;pre-judgmentinterestfrom thedateofeachinvoiceuntilpaid,post-
judgmentinterestasprovided atlaw,andsuchotherreliefasmaybeprovidedatlaw orequity.

                      COUNT lV-BREACH OF CONTM CT BY VSG H K

                  The facts asserted in Paragraphs 1tllrough 36 are incop orated herein asifset

 forth in f'
           u11.
                                                  10
Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 11 of 14 Pageid#: 11




        38.     Asan affiliate and subsidiary ofVSG,VSG HK isequally botmd by theM Nl7

 ykgreenAent.

        39.     In early2016,despitethe term sandrequirem entsofthe M ND Agreem ent,VSG,

 upon irlformation and belief,and itssubsidiary and affiliate,V SG HK,approached and solicited

 Irmotec'soriginalm mm facturerand supplier,forthepurposeofpurchasing productorequipment

 sold by Innotecdirectly from Innotec'sm armfacturerand supplier,withoutinvolving Irmotec,

 and withoutseeking orobtaining written consentfrom Innotec.Upon information andbelief,

 VSG and/orVSG HK proceeded topurchasesuch productand equipm ent,a1lin violation ofthe

 M M lAgreem ent,specitk ally including Paragraph 7.

        40.     Such actionswerealsocommitted by VSO HK,an affiliateand subsidiary of

 VSG,which wasequally bound by the M ND Agreem entaccording to itsexpressterm s.

 Therefore,VSG HK isliableforthism ongfuland unlawfulconduct.

        41.     A s dem onstrated by the facts and m atterssetforth herein,V SG H K m isused and

 misappropriated ConfidentialInformation oflnnotec,including Cov dentialJnformation

 concerning Innotec'sproducts,prices,and business,foritsown benefitand tothedetrimentof

 Innotec,withouttheexpressm itten consentofInnotec,to procuregoodsand productsprovided

by lnnotecand governed by theM NlD Agreem ent,directly from lnnotec'sm anufacturersor

 suppliers.

        42.     Such actionsconstitutea materialbreach oftheM ND Agreement,specifically

including Paragraphs2 and 7. Innotec hassustained m onetary and otherdam ages as the direct

and proxim ate resultthereof.
Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 12 of 14 Pageid#: 12




        W HEREFORE,InnotecpraysforjudgmentagainstVSG HK,in anamotmttobeproved
 attrial,itsattorneys'feesincurred herein,costs,and such otherreliefasisavailable atlaw or

 equity.



     CO U N T V -PER SO NA L LIA BILTY A G AIN ST OW N ER S O F V SG A N D V SG H K

        43.       Thefactsasserted in Paragraphs 1through 42 areincorporated herein asifset

 forth in 1 11.

        44. Upon izlformation andbelief,factsandconditionsexisttojustifythisCourtto
 piercethe corporateveilofVSG and VSG HK,andto findpersonalliability againsttheir

 shareholdersorm em bers,on one orm ore ofthe follow ing grotmds:

                  a)    Separatepersonalitiesoftheseentitiesandtheirownersdonotpractically
        exist,requisite formalitieshavenotbeen observed,and adhering to a formaldistinction

        andseparationbetweenthem wouldallow injusticetooccur.Inthisfashion,these
        entitiesare sim ply the alter-egosoftheirowners;

                        Theownerscontrolled orusedtheseentitiesto evadelegalobligations,

        perpematewhatisessentiallyafraud,commitaninjustice,and/orgainan unfair
        advantage overInnotec;

                  c)    Theentitiesaretmabletosatisfytheirdebtsandobligations,andsuch
        inability istheresultofdeliberatetmdercapitalization andotherconsciousactionsand

        w rongdoing;

        W HEREFORE,upontheentryofajudgmentagainstVSG and/orVSG HK,theCourt
 shouldpiercethecorporateveilofsuchentityandassessthejudgmentmldliabilityagainstthe
 owners,jointlyandseverally,specificallyincludingDefendantPerrault.
Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 13 of 14 Pageid#: 13




                                     PM YER FOR RELIEF
       W HEREFORE,Innotec LLC praysforthefollowingrelief:

              Judgmenton Cotmt1,againstVSG,in an am otmtnotlessthan $99,098.52,
                                                                              .pre-

 judgmentinterestllntilthedateofjudgment,post-judgmentinterestatthelegalrate,its
 attonwys'feesincurredherein,costs,and such otherreliefasisprovided at1aw orequity;

       B.     Judgmenton CotmtII,againstV SG,in an nmotmtnotlessthan $2,600,336.87,

 consisting of$1,564,571.90 pastdueon Innotec invoicesforgoodsordered,shipped,delivered

 andacceptedbyVSG withoutprotestorobjection;$771,674.25fornon-cancellablecustom
 goodsordered by VSG,assembled and prepared forslzipment,in part,and held by lnnotecgiven

 VSG 'S anticipatory breach;2% m ontlaly fees foroverdue balancesasofJanuary 27,2017,such

 nmotmtbeing$264,090.72;pre-judgmentinterestfrom thedateofeachinvoicetmtilpaid,post-
judgmentinterestasprovidedatlaw,itsattorneys'feesinctlrredherein,and suchotherreliefas
 m ay beprovided atlaw orequity;or,in the alternative,Judgm enton Count111,againstV SG,in

 arlamolmtsufficientto compensateInnotecthereasonablevalueofthosegoodsand servicesit

 provided,tmderthedoctrineoftmjustemichment,suchnmotmtconsistingofnotlessthan
 $2,699,435.39;

       C.     Judgm enton Count1V,againstV SG HK,in an nmotmtto beproved attrial,

 sufficientto com pensateInnotec forthedirectandproximatem onetary and otherdam agesit

 sustained asaresultofV SG HK 'sbreachesofcontract;and

       D.     Judgm entto be entered in the above am otm tsagainstthe ow nersofV SG and

 VSG HK,jointlyand severally,underthedoctrineofpiercingthecorporateveil,andpursuantto
 Virginia1aw assetforthhereinpertainingtoindividualownerliabilityforjudgmentsagainst;
 rd
Case 3:17-cv-00007-GEC-JCH Document 1 Filed 02/01/17 Page 14 of 14 Pageid#: 14




         E.       Such otherreliefasisavailableat1aw orequity.


                                 D EM A ND FO R JU RY TRIA L

         Plaintiffdemandsatlialbyjuryonallissuesoffactandcountssotriable.

                                                   Respectfully subm itted,

                                                   IN N O TEC LLC



                                                   By:       /.,     -. '        --
                                                                   Cotm sel

 JamesC.Cosby,Esquire(VSB No.:25992)
 SeanM .Golden,Esquire('
                       VSB No.76776)
 V AN D EVEN TER BLA CK LLP
 901EastByrd Street,Suite 1600
 PostOffice Box 1558
 Richmond,Virginia23219
Telephone:(804)237-8800
Facsimile:(804)237-8801
jcosby@vanblacklam com



 4819-2729-5552,v.l
